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                                     "A !"rofess~ottal `Cnurt Rutt Service"
                                   829 BaromteSt New Clrleatts; T~ 70113`


   ~~teplten .1VXe~~tz~{GEfJ),                                                 Teteplto~ze _(504)- 8840903
   Nfzclta~l.P''or'teor~s (CD.~)                                                           (504,x- SS4=0,903
   Entail Address                                                             legnlwings7996 u~ nY~rC. Bona


                               A.f£idar%it of Scrv:ice for LorrAine ~Ivcl~

       I,;,Stephen K11!Ientz,. atrernptedto serve 1VIs. Lorraine Hyde in person as.agent: of Gei~.esis
Venture Logistics LLG. After several. attempts ~ was unsuccessful... Please see the following
explanations of attempts of service:

Tebruary- 29 (1O:OOatn) — ~To car's were present. There. was no answer' at the doer; Tliere was a
Ring Doorbell and a dog was. present in the Name.

March 1(4:30pm) — A black GM truck `with license plate that read It.ocky~'op was:in the.
driveway. There was no answer at the door axed the dog was present in the home. Address is
7i 0I Edgewater Dx Mandeville, LA 70471.

.March 1 (5;45pm) —Anew car was presenx; a '.T`oyota Corolla with:license plate# 969BI7Q.
There was no answer:at the door and a dog was present in the home..

March:2 :(7:OOaxn) —There were no vehicles present in'the driveway: There wasn't. an answer at.
the doer and a dog was present in the home.

l~tarcla 2 :(3:45pnij — Z came a~ross'the G1V1 truck with license plate "RockyTop" traveling north
qn tl~e causeway bridge. I followed the: vehicle to 7101,Edgewater Dr Mandeville;'LA 70471.
An alder man who would not identify himself :explained that Lorraine had moved to
Pennsylvania to work foi Genesis 'Venture office there.

March. ~ (9:30am} — Z attempted to serve Genesis at 1:001 Oehsner Blvd Ste 419 Covington. I
learned tl~.at~the company moved one year ago,

March 3 (9~45am) — I attempted to serve .Genesis at 10 St. Ann. Dr. Mandeville, LA. No
employees were. present axed nca lights were on in the. building.

March 10 (4:30pm) — I made another attempt on Genesis.located at 10 St< Ann Dz Ivlarideville,
L~1:. There was a For Lease sign an the building.. Left and attempted 1:o serve at 71011adgewater
Ds•. -There was no one home. and no cars in the driveway.




                                           EXHIBIT                                   Stephen K Mentz
Date; 3-~ 2-2020
